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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  CENTRAL DIVISION

WALLACE ROBINSON, SR.                                                               PLAINTIFF
ADC #169328

V.                              NO. 4:21-cv-00089-JM-ERE

SHIRLEY LUBIN                                                                     DEFENDANT

                                             ORDER

        The Court has reviewed the recommendation submitted by United States Magistrate Judge

Edie R. Ervin and the objections. After carefully considering these documents and making a de

novo review of the record in this case, the Recommendation is approved and adopted in its entirety

as this Court's findings in all respects.

        IT IS THEREFORE ORDERED that:

        Shirley Lubin’s Motion for Summary Judgment (Doc. 21) is GRANTED, and Mr.

Robinson’s claims against her are DISMISSED, WITHOUT PREJUDICE, based on his failure to

fully exhaust his administrative remedies.

        Dated this 13th day of October, 2021.



                                                      _______________________________
                                                      UNITED STATES DISTRICT JUDGE
